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                   Exhibit 3
Case 2:19-cv-00996-SDW-JAD Document 25-3 Filed 07/15/19 Page 2 of 3 PageID: 498




                                                                                                                                      FILED
                                                            New Jersey Departmenf of the Treasury                                     AUG Og 20l3
                                                                     Division ofRevenue
                                                          Certificate of Change ofRegistered Office
                                                                 or Registered AgenJ, or Both                                 STAlE TREASUREP.
                                                             (For Use by Limited Patnershipsl
         0600090316
    LPNAME:
    RESURGENT CAPITAL SERVICES L.P.
                                                                                                                         D&Wif/63 l ~
    STA1E OF ORIGINAL FORMATION
     Delaware
                           IMl'ORl'ANT - L"ICLt:IDE I.Nl!'ORMATION ON BOTH THK PRIOR AND NEW AGENT

    PRTORAGENTNAMF.:                                                               NEW AGENT NAME:
    The Corporation Company                                                            Corporation Service Company
    PRlOR AGENT STREET ADDRESS                                                      NEW AGENT STREET ADDRESS
    820 Bear Tavcm Road                                                                830 Bear Tavern Road


    CITY                   STA"fE                ZIP                             CITY                   STAIB                   ZIP
    West Trenton                 NJ                    08628                            West Trenton                NJ                   08628
    The limited partnership ~ that the address of its oew registered office and the address of its new registered agent are identical.
    Further, 1hc changes designated on this fonn were 8llthorizcd by resolution duly adopted by its general partners.



                                                                                    Title     (Type) S,,/c.c    ~A       fflL




    FEES: Cruu,ge of Agent Narnc-$25.00                                                  MAIL   ro:         Dept. of tbe Treasury
    Change ofAgent Addrcss-$25.00                                                                           Div. ofRevenue
    Change ofBoth-$25.00                                                                                    CN308
                                                                                                            Trenton, NJ 08625

    MAKE CHECKS PAYABLE ro TIIEDEPARTMENT OF THE TREASURER, DMSION OF REVENUE (NO CASH PLEASE)
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 LP-102A ( l 0/94)



                                        New Jersey Division of Revenue
                                                                                             FILED
                          Amended Foreign Limited Partnership Certific te
                                                 NJSA 42:2A-58                               APR 04 201~


 I. The name of the Foreign Limited Partnership is:        Resurgent Capital Services L.P.


 2. Foreign Limited Partne,shipNumber: 0600090316                   G\,..sr:)GC) '\C)() \(.o
 3. The Je of filing of the original Foreign Limited Partnership certificate isc May 4, 2000


 4. Article      q       of the Certificate of Foreign Limited Partnership is hereby amended to read as follows:

    The m~rnng address of the Limited Partnership is
             I   .
          55 Beattie Place
          Suit~ 110, MS 425
          Greknville, SC 29601

         I
 5. Other Provisions:
         I
    The effective date of this amendment is April 15, 2013.




 Signature:,     ~               "72,-__                                      Date:   3(~'1 {t-D\3
                     General Partner:


 Name:      ~o~ Ir, ~ I vK
 Title:    iu.. MOJ/l~-e,V-, ~-\)                    ~'f I \,,-l.,(_,..


                                    NJ Division of Revenue, PO Box 308, NJ 08646
